Case 2:25-cv-10855-MAG-EAS ECF No. 27, PageID.286 Filed 05/06/25 Page 1 of 2



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JANE DOE 1 and JANE DOE 2, on
Behalf of themselves and others
Similarly situated,

       Plaintiffs,
                                                 Case No. 2:25-cv-10855-MAG-EAS
-vs-
                                                 HON. MARK A. GOLDSMITH
MATTHEW WEISS; the REGENTS OF
THE UNIVERSITY OF MICHIGAN; the                  MAGISTRATE JUDGE
UNIVERSITY OF MICHIGAN; KEFFER                   ELIZABETH A. STAFFORD
DEVELOPMENT SERVICES, LLC.,

     Defendants.
__________________________________________________________________

                     CORRECTED NOTICE OF FILING OF
                     MOTION FOR STATUS CONFERENCE

       Plaintiffs inadvertently included a case from the Northern District of Illinois

as a case for consolidation in the original notice, which is now removed. Please take

notice that Plaintiffs have filed a Motion for Status Conference in Case No. 25-cv-

10946. The motion seeks consolidation of the following cases:

             Jane Doe 1, et al. v. Weiss, et al., Case No. 25-cv-10806;
             Jane Doe 1, et al. v. Weiss, et al., Case No. 25-cv-10855;
             Jane Roe CLF 001 v. Weiss, et al., Case No 25-cv-10870;
             Jane Doe v. Board of Regents, Case No. 25-10876;
             Jane Does 1 –11 v. University of Michigan, Case No. 25-cv-10946;
             Jane Doe v. Board of Regents, et al., 25-cv-10951;
             Jane Doe 1-3 v. Matthew Weiss, et al., Case No. 25-cv-10988; and
             Student Doe v. Board of Regents, et al., Case No. 25-cv-10999.
Case 2:25-cv-10855-MAG-EAS ECF No. 27, PageID.287 Filed 05/06/25 Page 2 of 2



                                              Respectfully submitted,
Dated: May 6, 2025
                                              SOMMERS SCHWARTZ, P.C.

                                              /s/ Jason J. Thompson
                                              Jason J. Thompson (P47184)
                                              Lisa M. Esser (P70628)
                                              Richard L. Groffsky (P32992)
                                              Matthew G. Curtis (P37999)
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                          CERTIFICATE OF SERVICE

       I hereby certify that on May 6, 2025, I electronically filed the foregoing paper
with the Clerk of the Court using the CM/ECF system.


                                              /s/ Jason J. Thompson
                                              Jason J. Thompson (P47184)




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